Case 14-11987-CSS   Doc 845-3   Filed 06/11/18   Page 1 of 9




                    EXHIBIT B
            Case 14-11987-CSS                   Doc 845-3            Filed 06/11/18             Page 2 of 9



 From:              Kenneth Duvall
 To:                John FitrSimons; Leslie Ahari; Simone K. Lelchuk; David Muller; Avery Samet; Michael N. Kreitzer; @ian Amini
 Cc:                Jed Melnick; Lisa Gorham
 Subject:           RE: FCC Settlement Terms -Please Reply All [CC-USI.FID586673]
 Date:              Monday, May 14, 2018 3:18:28 PM
 Attachments:       image007.ona
                    imaae008.ona
                    imaae009.ona
                    imaae001.ona


Confirmed.




          Kenneth Duvall
          Attorney
          Bilzin Sumberg Baena Price &Axelrod LLP
          1450 Brickell Avenue, 23rd Floor                                            Tel 305.350.7284
          Miami, Florida 33131                                                 Direct Fax 305.351.2283
          www.bilzin.com                                                            kduvallna bilzin.com




From: John Fitzsimons
Sent: Monday, May 14, 2018 12:07 PM
To: Leslie Ahari; Simone K. Lelchuk; David Muller; Avery Samet; Michael N. Kreitzer; Bijan Amini;
Kenneth Duvall
Cc: Jed Melnick; Lisa Gorham
Subject: RE: FCC Settlement Terms -Please Reply All [CC-USI.FID586673]

Confirmed for AIG.




John Fitzsimons
Partner




  ~        KAUFMAN D~LOWiCF-~ VULUCK
                          __
           ATTCIRNFYS AT i AVJ
                               _--_
40 Exchange Place, 20th Floor
New York, NY, 10005
Direct:     21Z-485-9955
Cell:       917-854-3802
Main:       212-485-9600
Fax:        212-485-9700
Email:      jfitzsimonsCa~kdvlaw.com


WWW.KDVLAW.COM

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              Case 14-11987-CSS                        Doc 845-3              Filed 06/11/18   Page 3 of 9



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From: Ahari, Leslie [mailto:Leslie.AhariCa~clydeco.us]
Sent: Sunday, May 13, 2018 8:53 AM
To: Simone K. Lelchuk; John Fitzsimons; DMullerC~BaileyCay.com; Avery Samet; Michael N. Kreitzer;
Bijan Amini; kduvallCc~bilzin.com
Cc: Jed Melnick; Lisa Gorham
Subject: RE: FCC Settlement Terms -Please Reply All [CC-USI.FID586673]

Confirmed for XL Specialty

Leslie Ahari
Partner ~ Clyde & Co US LLP
Direct Dial: +1 202 747 5111 ~ Mobile: +1 703 627 8061

                                              1775 Pennsylvania Avenue, NW ~ 4th Floor ~ Washington

CL1~DE&C~                                     Man2+~o202 747 5100 ~ Fax +1 202 747 5150 ~ www.clydeco.us


From: Simone K. Lelchuk [mailto:simoneklelchukCalgmail.com]
Sent: Friday, May 11, 2018 8:39 PM
To: Ahari, Leslie; John Fitzsimons; DMullerCa~BaileyCay.com; Avery Samet; Michael N. Kreitzer; Bijan
Amini; kduvallCa~bilzin.com
Cc: Jed Melnick; simone Lelchuk
Subject: FCC Settlement Terms -Please Reply All

Counsel,


Thank you for everyone's patience and hard work today and this evening.


It is our understanding based on the representations of the parties hereto (the
"Parties") that at the May 11, 2018 mediation before Jed Melnick in the Clingman &
Hanger vs. Knobel, David, et al. (JAMS Reference No. 1425026459) (the "Mediation")
the Parties arrived at a deal, terms of which are included below.


Please REPLY ALLto confirm your agreement to the below terms.

1. The Parties agree to an all-in settlement amount of $15,000,000 (the "Settlement
Payment"), which the insurers shall fund in a commercially reasonable time period.


2. Defense counsel agrees to confirm details of this settlement with the Trustee's
counsel via email as early as possible this Sunday, May 13, 2018.

3. The Parties will jointly prepare a communication to go to the Court on Monday,
           Case 14-11987-CSS            Doc 845-3         Filed 06/11/18   Page 4 of 9



May 14, 2018.


4. The Parties agree that this settlement is subject to Bankruptcy Court approval.


5. The Parties agree to global, mutual releases (including, but not limited to, releases of
all insureds under the policies, all claims in the bankruptcy are to be released, policy
and claims releases for each insurer, etc.).


6.   The Parties agree that Jed Melnick shall retain jurisdiction and arbitral power over
any settlement-related issues arising between any of the Parties.




Thank you,


Jed &Simone


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Simone Lelchuk (. profile)
Mobile 51 f -850-5125
SimoneKLelchuk2r~gmail.com



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           Case 14-11987-CSS                 Doc 845-3             Filed 06/11/18                Page 6 of 9



 From:           David A. Muller
 To:             Simone K. Lelchuk; Ahari, Leslie; John FitrSimons; Avery Samet; Michael N. Kreitzer; Biian Amini;
                 kduvallna bilzin.com
Cc:              Jed Melnick
Subject:         RE: FCC Settlement Terms -Please Reply All
Date:            Sunday, May 13, 2018 9:35:56 AM


Confirming for Starr. Thanks.


David A. Muller Member

BAILEY ~ ~AVA►~.IER!
10 W. Broad Street, Ste. 2100 •Columbus, OH 43215-3422

direct: 614.229.3279 •main: 614.221.3155 •fax: 614.221.0479



                                                                          Bailey Cavalieri LLC




From: Simone K. Lelchuk <simoneklelchuk@gmail.com>
Sent: Friday, May 11, 2018 8:39 PM
To: Ahari, Leslie <Leslie.Ahari@clydeco.us>; John Fitzsimons <jfitzsimons@kdvlaw.com>; David A.
Muller <dmuller@baileycay.com>; Avery Samet <asamet@storchamini.com>; Michael N. Kreitzer
<mkreitzer@bilzin.com>; Bijan Amini <bamini@storchamini.com>; kduvall@bilzin.com
Cc: Jed Meinick yedmelnick@gmail.com>; Simone Lelchuk <simoneklelchuk@gmail.com>
Subject: FCC Settlement Terms -Please Reply All

Counsel,


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           Case 14-11987-CSS             Doc 845-3        Filed 06/11/18   Page 7 of 9




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Thank you,

fed &Simone


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Simone Lelchuk (profile)
Mobile 516-850-5125
SimoneKLelchuk~amail.com
           Case 14-11987-CSS                 Doc 845-3            Filed 06/11/18              Page 8 of 9




From:           Bean Amini
To:             simoneklelchukCalgmail.com; Leslie.AhariCo~clydeco.us; ifitzsimons~alkdvlaw.com; DMullerCa~bailgycay.com; Ay~~y
                Samet; mkreitrerCo~bilzin.com; kduvallCo~bilzin.com
Cc:             iedmelnickCalgmail.com; simonekleichukCalgmail.com
Subject:        RE: FCC Settlement Terms -Please Reply All
Date:           Friday, May 11, 2018 10:12:36 PM


Confirmed on behalf of plaintiff.

Many thanks to both of you, and everyone else involved, for your hard work and
perserverance today.

Best wishes,

Bijan


Bijan Amini


STORCH AMINI PC

2 GRAND CENTRAL TOWER

140 EAST 45TH STREET, 25TH FLOOR

NEW YORK, NY 10017


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From: "Simone K. Lelchuk" <simoneklelchuk@gmail.com>
Sent: May 11, 2018 8:39 PM
To: "Ahari, Leslie" <Leslie.Ahari@clydeco.us>; John Fitzsimons
<jfitzsimons@kdvlaw.com>; "DMuller@BaileyCay.com" <DMuller@baileycay.com>; Avery
Samet <asamet@storchamini.com>; "Michael N. Kreitzer" <mkreitzer@bilzin.com>; Bijan
Amini <bamini@storchamini.com>; kduvall@bilzin.com
Cc: Jed Melnick <jedmelnick@gmail.com>; simone Lelchuk <simoneklelchuk@gmail.com>
Subject: FCC Settlement Terms -Please Reply All

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Please Re~ZI~ All

Thank you,

Jed &Simone


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Simone Lelchuk (~ofile)
Mobile 516-850-5125
SimoneKLelchukla~amail.com
